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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ABC CAPITAL INVESTMENTS, :LLC       )
                                    )
         Plaintiff                  )                Civil      Action      No.     2:17-cv-04980
     v.                             )
                                    )
NATIONWIDE RENTSURE                 )
                                    )
and                                 )
                                    )
NATIONWIDE EVICTION                 )
                                    )
         Defendants            ---- )
NATIONWIDE RENTSURE                 )
                                    )
         Third-Party Plaintiff      )
                                    )
v.                                  )
NATIONWIDE COURT SYSTEMS, LLC )
                                    )
         Third-Party Defendant      )
                                    )
                                    )

 DEFENDANT, NATIONWIDE EVICTION, LLC’S (INCORRECTLY CAPTIONED AS
     “NATIONWIDE EVICTION”) ANSWER TO PLAINTIFF’S COMPLAINT

       Defendant, Nationwide Eviction, LLC (incorrectly captioned as “Nationwide Eviction”)

(“Answering Defendant”), hereby answers Plaintiff’s Complaint, and in support thereof, avers as

follows:

           1. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, after reasonable

investigation, Answering Defendant is without knowledge or information sufficient to form a

belief as to the truth of the averments contained in this paragraph. Strict proof of the allegations

contained in this paragraph is demanded at the time of trial.


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           2. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

that Answering Defendant is licensed to sell and hold insurance policies without limitation

and/or makes any representations with respect to Plaintiff. It is further denied that Answering

Defendant has an address of 5446 DTC Parkway, Greenwood Village, CO 80111. It is admitted

only that Answering Defendant is a limited liability company which develops and maintains

software that allows clients to provide insurance and other services surrounding eviction

operations, with a principal office and members located in North Carolina. Strict proof of the

allegations contained in this paragraph is demanded at the time of trial.

           3. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. Strict proof of the allegations contained in this paragraph is demanded at the time of trial.

           4. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. Strict proof of the allegations contained in this paragraph is demanded at the time of trial.


                                         JURISDICTION

           5. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. Strict proof of the allegations contained in this paragraph is demanded at the time of trial.

           6. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. Strict proof of the allegations contained in this paragraph is demanded at the time of trial.


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           7. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. Strict proof of the allegations contained in this paragraph is demanded at the time of trial.

           8. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. Strict proof of the allegations contained in this paragraph is demanded at the time of trial.


                                              FACTS

           9. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

that Answering Defendant entered into any policies directly with Plaintiff. By way of further

response, after reasonable investigation, Answering Defendant is without knowledge or

information sufficient to form a belief as to the truth of the remaining averments contained in this

paragraph, inasmuch as Plaintiff has failed to distinguish the responsibilities of Answering

Defendant and Nationwide Rentsure, two separate entities. Strict proof of the allegations

contained in this paragraph is demanded at the time of trial.

           10. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, to the extent that an

answer may be deemed necessary, it is specifically denied that Answering Defendant entered

into any policies directly with Plaintiff or marketed directly with Plaintiff. By way of further

response, after reasonable investigation, Answering Defendant is without knowledge or

information sufficient to form a belief as to the truth of the remaining averments contained in this


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paragraph, inasmuch as Plaintiff has failed to distinguish the responsibilities of Answering

Defendant and Nationwide Rentsure, two separate entities. Strict proof of the allegations

contained in this paragraph is demanded at the time of trial.

            11. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

that Answering Defendant directly provided any insurance to Plaintiff. By way of further

response, after reasonable investigation, Answering Defendant is without knowledge or

information sufficient to form a belief as to the truth of the averments contained in this

paragraph, inasmuch as Plaintiff has failed to distinguish the responsibilities of Answering

Defendant and Nationwide Rentsure, two separate entities. Strict proof of the allegations

contained in this paragraph is demanded at the time of trial.

            12. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, after reasonable

investigation, Answering Defendant is without knowledge or information sufficient to form a

belief as to the truth of the averments contained in this paragraph, inasmuch as Plaintiff has

failed to distinguish the responsibilities of Answering Defendant and Nationwide Rentsure, two

separate entities. Strict proof of the averments contained in this paragraph is demanded at the

time of trial.

            13. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, after reasonable



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investigation, Answering Defendant is without knowledge or information sufficient to form a

belief as to the truth of the averments contained in this paragraph, inasmuch as Plaintiff has

failed to distinguish the responsibilities of Answering Defendant and Nationwide Rentsure, two

separate entities. Strict proof of the averments contained in this paragraph is demanded at the

time of trial.

            14. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, after reasonable

investigation, Answering Defendant is without knowledge or information sufficient to form a

belief as to the truth of the averments contained in this paragraph, inasmuch as Plaintiff has

failed to distinguish the responsibilities of Answering Defendant and Nationwide Rentsure, two

separate entities. Strict proof of the averments contained in this paragraph is demanded at the

time of trial.

            15. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, after reasonable

investigation, Answering Defendant is without knowledge or information sufficient to form a

belief as to the truth of the averments contained in this paragraph, inasmuch as Plaintiff has

failed to distinguish the responsibilities of Answering Defendant and Nationwide Rentsure, two

separate entities. Strict proof of the averments contained in this paragraph is demanded at the

time of trial.

            16. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be



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denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

that Answering Defendant ever acted in bad faith, at any time material hereto. To the contrary, at

all times material hereto, Answering Defendant complied with all standards of care applicable to

its conduct and in no way acted in bad faith. By way of further response, after reasonable

investigation, Answering Defendant is without knowledge or information sufficient to form a

belief as to the truth of the averments contained in this paragraph, inasmuch as Plaintiff has

failed to distinguish the responsibilities of Answering Defendant and Nationwide Rentsure, two

separate entities. Strict proof of the averments contained in this paragraph is demanded at the

time of trial.

            17. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

that Answering Defendant ever failed to honor their promises and/or contracts and/or acted in

bad faith, at any time material hereto. To the contrary, at all times material hereto, Answering

Defendant complied with all standards of care applicable to its conduct, in no way breached any

contracts and/or promises, and in no way acted in bad faith. By way of further response, after

reasonable investigation, Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the averments contained in this paragraph, inasmuch as Plaintiff

has failed to distinguish the responsibilities of Answering Defendant and Nationwide Rentsure,

two separate entities. Strict proof of the averments contained in this paragraph is demanded at the

time of trial.

                                       COUNT I
                                  BREACH OF CONTRACT

            18. This is an incorporating paragraph to which no responsive pleading is required.


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           19. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

that Answering Defendant intentionally refused to do anything it was obligated to do. By way of

further response, after reasonable investigation, Answering Defendant is without knowledge or

information sufficient to form a belief as to the truth of the averments contained in this

paragraph, inasmuch as Plaintiff has failed to distinguish the responsibilities of Answering

Defendant and Nationwide Rentsure, two separate entities. Strict proof of the averments

contained in this paragraph is demanded at the time of trial.

           20. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

that Answering Defendant intentionally refused to do anything it was obligated to do. By way of

further response, after reasonable investigation, Answering Defendant is without knowledge or

information sufficient to form a belief as to the truth of the averments contained in this

paragraph, inasmuch as Plaintiff has failed to distinguish the responsibilities of Answering

Defendant and Nationwide Rentsure, two separate entities. Strict proof of the averments

contained in this paragraph is demanded at the time of trial.

           21. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, after reasonable

investigation, Answering Defendant is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph pertaining to the cause and/or extent of



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Plaintiff’s alleged damages, and all allegations regarding same are denied. Strict proof of the

allegations contained in this paragraph is demanded at the time of trial.

            22. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, after reasonable

investigation, Answering Defendant is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph pertaining to the cause and/or extent of

Plaintiff’s alleged damages, and all allegations regarding same are denied. Strict proof of the

allegations contained in this paragraph is demanded at the time of trial.


                                        COUNT II
                                   UNJUST ENRICHMENT

            23. This is an incorporating paragraph to which no responsive pleading is required.

            24. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

that Answering Defendant was unjustly enriched in any way. By way of further response, after

reasonable investigation, Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the averments contained in this paragraph, inasmuch as Plaintiff

has failed to distinguish the conduct of Answering Defendant and Nationwide Rentsure, two

separate entities. Strict proof of the averments contained in this paragraph is demanded at the

time of trial.

            25. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

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that Answering Defendant intentionally refused to do anything it was obligated to do. By way of

further response, after reasonable investigation, Answering Defendant is without knowledge or

information sufficient to form a belief as to the truth of the averments contained in this

paragraph, inasmuch as Plaintiff has failed to distinguish the conduct of Answering Defendant

and Nationwide Rentsure, two separate entities. Strict proof of the averments contained in this

paragraph is demanded at the time of trial.

           26. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

that any retention of benefits conferred onto Answering Defendant would be unjust and/or

inequitable. By way of further response, after reasonable investigation, Answering Defendant is

without knowledge or information sufficient to form a belief as to the truth of the averments

contained in this paragraph, inasmuch as Plaintiff has failed to distinguish the conduct of

Answering Defendant and Nationwide Rentsure, two separate entities. Strict proof of the

averments contained in this paragraph is demanded at the time of trial.

           27. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

that any retention of benefits conferred onto Answering Defendant would be unjust and/or

inequitable. By way of further response, after reasonable investigation, Answering Defendant is

without knowledge or information sufficient to form a belief as to the truth of the averments

contained in this paragraph, inasmuch as Plaintiff has failed to distinguish the conduct of




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Answering Defendant and Nationwide Rentsure, two separate entities. Strict proof of the

averments contained in this paragraph is demanded at the time of trial.


                                          COUNT III
                                          BAD FAITH

            28. This is an incorporating paragraph to which no responsive pleading is required.

            29. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. Strict proof of the averments contained in this paragraph is demanded at the time of trial.

            30. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, after reasonable

investigation, Answering Defendant is without knowledge or information sufficient to form a

belief as to the truth of the averments contained in this paragraph, inasmuch as Plaintiff has

failed to distinguish its responsibilities to Answering Defendant and Nationwide Rentsure, two

separate entities. Strict proof of the averments contained in this paragraph is demanded at the

time of trial.

            31. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

that Answering Defendant directly provided any insurance to Plaintiff. It is further denied that

Answering Defendant ever acted in bad faith, at any time material hereto. To the contrary, at all

times material hereto, Answering Defendant complied with all standards of care applicable to its

conduct and in no way acted in bad faith. By way of further response, after reasonable

investigation, Answering Defendant is without knowledge or information sufficient to form a

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belief as to the truth of the averments contained in this paragraph, inasmuch as Plaintiff has

failed to distinguish the responsibilities of Answering Defendant and Nationwide Rentsure, two

separate entities. Strict proof of the allegations contained in this paragraph is demanded at the

time of trial.

            32. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

that Answering Defendant directly provided any insurance to Plaintiff and/or acted in bad faith at

any time material hereto. To the contrary, at all times material hereto, Answering Defendant

complied with all standards of care applicable to its conduct and in no way acted in bad faith. By

way of further response, after reasonable investigation, Answering Defendant is without

knowledge or information sufficient to form a belief as to the truth of the averments contained in

this paragraph, inasmuch as Plaintiff has failed to distinguish the responsibilities of Answering

Defendant and Nationwide Rentsure, two separate entities. Strict proof of the allegations

contained in this paragraph is demanded at the time of trial.

            33. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

that Answering Defendant was reckless at any time material hereto. To the contrary, at all times

material hereto, Answering Defendant acted with due care under the circumstances, complied

with all standards of care applicable to its conduct, and in no way caused or contributed to

Plaintiff’s alleged damages, with the same being denied. By way of further response, after

reasonable investigation, Answering Defendant is without knowledge or information sufficient to



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form a belief as to the truth of the averments contained in this paragraph, inasmuch as Plaintiff

has failed to distinguish the responsibilities of Answering Defendant and Nationwide Rentsure,

two separate entities Strict proof of the allegations contained in this paragraph is demanded at the

time of trial.

            34. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

that Answering Defendant was “wanton, reckless, [and/or] outrageous” at any time material

hereto. To the contrary, at all times material hereto, Answering Defendant acted with due care

under the circumstances, complied with all standards of care applicable to its conduct, and in no

way caused or contributed to Plaintiff’s alleged damages, with the same being denied. By way of

further response, after reasonable investigation, Answering Defendant is without knowledge or

information sufficient to form a belief as to the truth of the averments contained in this

paragraph, inasmuch as Plaintiff has failed to distinguish the responsibilities of Answering

Defendant and Nationwide Rentsure, two separate entities. After reasonable investigation,

Answering Defendant is also without knowledge or information sufficient to form a belief as to

the truth of the averments contained in this paragraph pertaining to the cause and/or extent of

Plaintiff’s alleged damages, and all allegations regarding same are denied. Strict proof of the

allegations contained in this paragraph is demanded at the time of trial.


                                          COUNT IV
                                         CONVERSION

            35. This is an incorporating paragraph to which no responsive pleading is required.




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           36. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. Strict proof of the averments contained in this paragraph is demanded at the time of trial.

           37. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

that Answering Defendant abused its discretion or engaged in any form of “protracted delay.” To

the contrary, at all times material hereto, Answering Defendant acted with due care under the

circumstances, complied with all standards of care applicable to its conduct, and in no way

caused or contributed to Plaintiff’s alleged damages, with the same being denied. By way of

further response, after reasonable investigation, Answering Defendant is without knowledge or

information sufficient to form a belief as to the truth of the averments contained in this

paragraph, inasmuch as Plaintiff has failed to distinguish the responsibilities of Answering

Defendant and Nationwide Rentsure, two separate entities Strict proof of the allegations

contained in this paragraph is demanded at the time of trial.

           38. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

that any retention of benefits conferred onto Answering Defendant would be unjust and/or

inequitable. By way of further response, after reasonable investigation, Answering Defendant is

without knowledge or information sufficient to form a belief as to the truth of the averments

contained in this paragraph, inasmuch as Plaintiff has failed to distinguish the responsibilities of

Answering Defendant and Nationwide Rentsure, two separate entities. After reasonable



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investigation, Answering Defendant is also without knowledge or information sufficient to form

a belief as to the truth of the averments contained in this paragraph pertaining to the nature,

cause, and/or extent of Plaintiff’s alleged damages, and all allegations regarding same are denied.

Strict proof of the allegations contained in this paragraph is demanded at the time of trial.


                                        COUNT I [SIC] V
                                           FRAUD

            39. This is an incorporating paragraph to which no responsive pleading is required.

            40. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

that Answering Defendant made any intentional false representation or engaged in any other

activity that was otherwise illegal at any time material hereto. To the contrary, at all times

material hereto, Answering Defendant acted with due care under the circumstances, complied

with all standards of care applicable to its conduct, and in no way caused or contributed to

Plaintiff’s alleged damages, with the same being denied. By way of further response, after

reasonable investigation, Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the averments contained in this paragraph, inasmuch as Plaintiff

has failed to distinguish the responsibilities of Answering Defendant and Nationwide Rentsure,

two separate entities Strict proof of the allegations contained in this paragraph is demanded at the

time of trial.

            41. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, it is specifically denied

that Answering Defendant made any “knowing” false statements, claims, and/or representations

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to any person or party at any time material hereto. To the contrary, at all times material hereto,

Answering Defendant acted with due care under the circumstances, complied with all standards

of care applicable to its conduct, and in no way caused or contributed to Plaintiff’s alleged

damages, with the same being denied. By way of further response, after reasonable investigation,

Answering Defendant is without knowledge or information sufficient to form a belief as to the

truth of the averments contained in this paragraph, inasmuch as Plaintiff has failed to distinguish

the responsibilities of Answering Defendant and Nationwide Rentsure, two separate entities

Strict proof of the allegations contained in this paragraph is demanded at the time of trial.

           42. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, after reasonable

investigation, Answering Defendant is without knowledge or information sufficient to form a

belief as to the truth of the averments contained in this paragraph the cause and/or extent of

Plaintiff’s alleged damages, and all allegations regarding same are denied. Strict proof of the

allegations contained in this paragraph is demanded at the time of trial.

           43. Denied. The averments contained in this paragraph state conclusions of law to

which no responsive pleading is required, and all allegations regarding same are deemed to be

denied. However, to the extent that an answer may be deemed necessary, after reasonable

investigation, Answering Defendant is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph pertaining to the cause and/or extent of

Plaintiff’s alleged damages, and all allegations regarding same are denied. Strict proof of the

allegations contained in this paragraph is demanded at the time of trial.




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        WHEREFORE, Answering Defendant, Nationwide Eviction, LLC, denies any liability

whatsoever and demands judgment in its favor together with costs, attorneys’ fees, and other

such relief as this Court deems just.


                                 FIRST AFFIRMATIVE DEFENSE

               44. Answering Defendant hereby incorporates by reference the preceding paragraphs

of its Answer as though the same were set forth herein at length.

                               SECOND AFFIRMATIVE DEFENSE

               45. The applicable Statute of Limitations may have expired prior to the institution of

this action.

                                THIRD AFFIRMATIVE DEFENSE

               46. The allegations contained within Plaintiff’s Complaint pertain to a party other

than Answering Defendant.

                               FOURTH AFFIRMATIVE DEFENSE

               47. Plaintiff may have failed to state a cause of action upon which relief can be

granted.

                                 FIFTH AFFIRMATIVE DEFENSE

               48. Answering Defendant breached no duty to the Plaintiff.



                                 SIXTH AFFIRMATIVE DEFENSE

               49. Answering Defendant’s conduct was not “malicious, wanton, reckless, willful, or

oppressive” in any way whatsoever.

                               SEVENTH AFFIRMATIVE DEFENSE

               50. Answering Defendant did not act in bad faith.

                                EIGHTH AFFIRMATIVE DEFENSE
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           51. Answering Defendant was not unjustly enriched.

                              NINTH AFFIRMATIVE DEFENSE

           52. Answering Defendant had no direct contract with the Plaintiff.

                             TENTH AFFIRMATIVE DEFENSE

           53. Plaintiff’s claims are barred and/or limited pursuant to the Doctrine of Accord and

Satisfaction.

                           ELEVENTH AFFIRMATIVE DEFENSE

           54. Plaintiff’s claims are barred and/or limited pursuant to the Doctrine of Consent.

                            TWELFTH AFFIRMATIVE DEFENSE

           55. Plaintiff’s claims are barred by the gist of the action doctrine.

                         THIRTEENTH AFFIRMATIVE DEFENSE

           56. Plaintiff’s claims are barred due to the parties’ lack of consideration.

                         FOURTEENTH AFFIRMATIVE DEFENSE

           57. Plaintiff’s claims are barred and/or limited pursuant to the Doctrine of Waiver

and/or Estoppel.

                          FIFTEENTH AFFIRMATIVE DEFENSE

           58. Plaintiff’s claims are barred by the Statute of Frauds.

                          SIXTEENTH AFFIRMATIVE DEFENSE

           59. Plaintiff’s claims are barred and/or limited by the Doctrine of Acquiescence.

                        SEVENTEENTH AFFIRMATIVE DEFENSE

           60. At all material times, Answering Defendant acted with due care and complied

with applicable statutory and common law requirements. Accordingly, some or all of Plaintiff’s

claims are or may be barred by Answering Defendant’s compliance with all applicable laws.

                         EIGHTEENTH AFFIRMATIVE DEFENSE


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           61. Plaintiff’s claims are barred and/or limited due to its failure to mitigate damages.

                           NINETEENTH AFFIRMATIVE DEFENSE

           62. Plaintiff’s claims are barred and/or limited because the allegations contained in

the Complaint are vague, ambiguous, and uncertain.

                            TWENTIETH AFFIRMATIVE DEFENSE

           63. Plaintiff’s claims are barred because the contracts at issue are indefinite.

                          TWENTY-FIRST AFFIRMATIVE DEFENSE

           64. Plaintiff’s claims are barred because there was a mutual mistake of fact as to the

terms of the contracts.

                          TWENTY-SECOND AFFIRMATIVE DEFENSE

           65. Plaintiff’s claims are barred because Plaintiff fraudulently induced Answering

Defendant to enter into the subject contract.

                          TWENTY-THIRD AFFIRMATIVE DEFENSE

           66. Plaintiff’s claims are otherwise barred by fraud on the part of the Plaintiff.

                      TWENTY-FOURTH AFFIRMATIVE DEFENSE

           67. Plaintiff’s claims are barred and/or limited by the Doctrine of Justification.

                          TWENTY-FIFTH AFFIRMATIVE DEFENSE

           68. Plaintiff’s claims are barred and/or limited by the Doctrine of Laches.

                          TWENTY-SIXTH AFFIRMATIVE DEFENSE

           69. Plaintiff’s claims are barred based on the lack of payment by Plaintiffs.

                      TWENTY-SEVENTH AFFIRMATIVE DEFENSE

           70. Plaintiff’s claims are barred and/or limited by the Doctrine of Privilege.

                          TWENTY-EIGHTH AFFIRMATIVE DEFENSE

           71. Plaintiff’s claims are barred and/or limited by the Doctrine of Release.


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                        TWENTY-NINTH AFFIRMATIVE DEFENSE

           72. Plaintiff’s claims are barred by the Doctrine of Res Judicata.

                           THIRTIETH AFFIRMATIVE DEFENSE

           73. Plaintiff’s claims are barred based on the defense of truth.

                         THIRTY-FIRST AFFIRMATIVE DEFENSE

           74. Plaintiff’s claims are barred because the contracts that the parties entered into are

unconscionable.

                       THIRTY-SECOND AFFIRMATIVE DEFENSE

           75. Plaintiff’s claims are barred or alternatively, any amount of damages should be

reduced, according to the doctrine of substantial performance.

                        THIRTY-THIRD AFFIRMATIVE DEFENSE

           76. Answering Defendant did not engage in conversion.

                       THIRTY-FOURTH AFFIRMATIVE DEFENSE



           77. Answering Defendant did not act in any type of fraud whatsoever.

                         THIRTY-FIFTH AFFIRMATIVE DEFENSE

           78. Answering Defendant reserves the right to assert at the time of trial any and all

affirmative defenses revealed through discovery.

       WHEREFORE, Answering Defendant, Nationwide Eviction, LLC, denies any liability

whatsoever and demands judgment in its favor together with costs, attorneys’ fees, and other

such relief as this Court deems just.




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COUNTERCLAIM AGAINST NATIONWIDE RENTSURE PURSUANT TO FEDERAL
                 RULE OF CIVIL PROCEDURE 13(g)

           79. Answering Defendant incorporates by reference the preceding paragraphs of its

Answer and New Matter as though the same were set forth at length herein.

           80. If Plaintiff is entitled to recovery as set forth in Plaintiff’s Complaint, which

injuries and damages are specifically denied, Defendant, Nationwide Rentsure, is solely liable to

said Plaintiff and/or liable over to Answering Defendant and/or jointly and severally liable over

to Answering Defendant for any alleged injuries, losses and/or damages which may have been

suffered by Plaintiff.

           81. The incident as alleged in Plaintiff’s Complaint was not caused by the conduct of

Answering Defendant and if Plaintiff suffered any alleged injuries, losses, and/or damages as

alleged, said injuries, losses, and/or damages were caused by the liability producing conduct of

Defendant, Nationwide Rentsure, who is solely liable to Plaintiff and/or jointly and/or severally

liable to Plaintiff and/or liable over to Answering Defendant.

           82. If Plaintiff recovers any verdict amount against Answering Defendant, Answering

Defendant demands judgment in the amount of the verdict or full indemnity and contribution

according to the law against Defendant, Nationwide Rentsure.

       WHEREFORE, Answering Defendant, Nationwide Eviction, LLC, denies any liability

whatsoever and demands judgment in its favor together with cots, attorneys’ fees, and other such

relief as this Court deems just.


                                                            POST & SCHELL, P.C.




                                                          ________________________________

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                                               MARK H. PERRY, ESQUIRE
                                               ERIKA M. PAGE, ESQUIRE
Dated: May 17, 2018                            ATTORNEYS FOR DEFENDANT,
                                               NATIONWIDE EVICTION, LLC




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                                CERTIFICATE OF SERVICE

       ERIKA M. PAGE, ESQUIRE hereby states that a true and correct copy of the foregoing

Answer to Plaintiff’s Complaint is to be electronically filed with the Court and served

electronically by the Court upon counsel of record.

                                                            POST & SCHELL, P.C.




                                                          ________________________________
                                                            MARK H. PERRY, ESQUIRE
                                                            ERIKA M. PAGE, ESQUIRE
Dated: May 17, 2018                                         ATTORNEYS FOR DEFENDANT,
                                                            NATIONWIDE EVICTION, LLC
